






THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Marty Hannah, Appellant.
			
		
	


Appeal From York County
&nbsp;Lee S. Alford, Circuit Court Judge
Unpublished Opinion No. 2008-UP-112
Submitted February 1, 2008  Filed
  February 13, 2008&nbsp; 
AFFIRMED


	
		
			
				Appellate Defender LaNelle C. Durant, of Columbia, for Appellant.
				John Benjamin Aplin, of Columbia, for Respondent.
			
		
	

PER CURIAM:&nbsp; Marty Hannah appeals from the revocation
  of his probation, arguing the circuit
  court erred by allowing a non-lawyer to present the States case for revoking
  his probation.&nbsp; We affirm[1] pursuant to Rule 220(b), SCACR, and the following authorities:&nbsp; State v.
    Barlow, 372 S.C. 534, 539, 643 S.E.2d 682, 685 (2007) (holding that a
  probation agents presentation of the States case in a revocation proceeding
  does not constitute the unauthorized practice of law); State v. Hamilton, 333 S.C. 642, 648, 511 S.E.2d 94, 96 (Ct. App. 1999) (explaining that
  an issue must be raised to and ruled upon by the revocation judge to be
  preserved for appellate review).  
AFFIRMED.
HUFF,
  KITTREDGE, and WILLIAMS, JJ., concur.

[1] We decide this
  case without oral argument pursuant to Rule 215, SCACR.

